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                          IN THE UNITED STATES DISTRICT COURT

                          FOR THE SOUTHERN DISTRICT OF TEXAS

                                    GALVESTON DIVISION

UNITED STATES OF AMERICA                        §
                                                §
VS.                                             §    CRIMINAL NO. G-12-MJ-04
                                                §
HUEY JOSEPH HEBERT, III                         §

                                   ORDER OF DETENTION

       On February 7, 2012, this Court conducted a combined Preliminary and Detention Hearing

in the above-styled and numbered cause; the Government had moved for the Defendant’s detention

pursuant to 18 U.S.C. § 3142(f)(1)(E).        The Government offered the testimony of Trent

Broussard, an Agent with the Drug Enforcement Agency (D.E.A.); the Defendant offered no

evidence. The Court also made the Pretrial Services report, which recommended detention a part

of the record. Having now considered all of the evidence the Court FINDS that there is probable

cause to believe that Defendant, Huey Joseph Hebert, III, has committed the felony offense of

possession with intent to deliver methamphetamine.

       The Court further FINDS, in accordance with the Bail Reform Act, 18 U.S.C. § 3142(f),

that the following facts are established by clear and convincing evidence and require the detention

of Hebert in this case:

1.     That pursuant to the complaint, there is probable cause to believe that Hebert has

       committed a drug offense with a maximum penalty of ten years or more confinement as

       prescribed by 21 U.S.C. §§ 841(a) and (b);

2.     That by virtue of the foregoing finding a rebuttable presumption was created in favor of

       Hebert’s detention, 18 U.S.C. § 3142(e);
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3.    That the strength of the Government’s case is substantial given the actual surveillance of

      Hebert delivering packages of marijuana to the courier who was later arrested in possession

      of that marijuana and approximately one pound of methamphetamine, the telephonic

      interception of Hebert’s call to the courier during his transportation of the drugs to check

      up on the courier’s progress and whereabouts, Hebert’s explicit reference to “crank”

      during that phone call, and Hebert’s long history of continued drug trafficking;

4.    That since 1995, and prior to the current alleged offense, Hebert has been convicted of

      three misdemeanor drug charges and one felony drug charge, has twice had his probation

      status revoked, and has served three separate drug related sentences, including a two year

      term of imprisonment;

5.    That Hebert’s prior convictions and sentences for drug related offenses fairly predict a

      continuation of such activities if he were to be released, United States V. Salerno, 481

      U.S. 739 (1987);

6.    That based upon the foregoing findings, Hebert would constitute a danger to the

      community of released;

7.    That Hebert has not rebutted the presumption of danger established by 18 U.S.C. §

      3142(e); and

8.    That the credible evidence and information submitted establishes by clear and convincing

      evidence that there is no condition or combination of conditions which could be imposed

      upon Hebert by this Court to reasonably assure the safety of the community if he were

      released.




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       It is, therefore, ORDERED that Huey Joseph Hebert, III, be, and he is hereby,

COMMITTED to the custody of the Attorney General or his designated representative for

confinement in a corrections facility separate, to the extent practicable, from persons awaiting or

serving sentences or being held in custody pending appeal.

       It is further ORDERED that the Huey Joseph Hebert, III, SHALL be afforded a reasonable

opportunity for private consultation with defense counsel.

       It is further ORDERED that upon Order of a Court of the United States or upon request

of an attorney for the Government, the person in charge of the corrections facility SHALL deliver

Huey Joseph Hebert, III, to the United States Marshal for the purpose of an appearance in

connection with a Court proceeding.

       DONE at Galveston, Texas this          8th          day of February, 2012.




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